Case 1:23-cv-00469-WES-LDA          Document 23     Filed 01/08/24    Page 1 of 5 PageID #:
                                          2578


                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

 ___________________________________
                                    )
 STEVEN D. MURRAY,                  )
                                    )
           Plaintiff,               )
                                    )
      v.                            )                   C.A. No. 23-469 WES
                                    )
 COMMUNITY COLLEGE OF RHODE ISLAND, )
 alias, COUNCIL ON POST SECONDARY   )
 EDUCATION, alias, and ROSEMARY     )
 COSTIGAN, alias, in her individual )
 and official capacities,           )
                                    )
           Defendants.              )
 ___________________________________)

                                          ORDER

 WILLIAM E. SMITH, District Judge.

       Before    the    Court        is   Plaintiff’s        Motion    for    Temporary

 Restraining Order and Preliminary Injunctive Relief (“Motion”).

 ECF No. 2.     In his Motion, Plaintiff alleges that Defendants have

 retaliated     against       him   for   engaging      in   protected       speech    and

 association, violated his due process rights, and continue to

 infringe on his freedom of speech and association by placing him

 on administrative leave.

       To obtain preliminary injunctive relief, the movant must

 show: “(1) a likelihood of success on the merits, (2) a likelihood

 of   irreparable      harm    absent     interim     relief,    (3)    a    balance   of

 equities in the plaintiff’s favor, and (4) service of the public
Case 1:23-cv-00469-WES-LDA    Document 23    Filed 01/08/24   Page 2 of 5 PageID #:
                                    2579


 interest.”    Arborjet, Inc. v. Rainbow Treecare Sci. Advancements,

 Inc., 794 F.3d 168, 171 (1st Cir. 2015).

       The Court finds as follows with respect to Plaintiff’s various

 claims for injunctive relief: First, Plaintiff has not met his

 burden with respect to the likelihood of success on the merits of

 his First Amendment retaliation for speech or association claims.

 See Decotiis v. Whittemore, 635 F.3d 22, 29-30 (1st Cir. 2011)

 (providing the elements of a First Amendment retaliation for speech

 claim claim); Mullen v. Tiverton Sch. Dist., 504 F. Supp. 3d 21,

 30-31   (D.R.I.   2020)     (regarding   retaliation     for    association).

 Defendant Community College of Rhode Island (“CCRI”) extended

 Plaintiff’s administrative leave based on evidence gathered during

 the investigation of the Title IX complaint.             DXA, Decl. of Alix

 Ogden ¶¶ 19-20, ECF No. 14-1.              That evidence shed light on

 interactions over the years between Plaintiff and faculty that did

 not consistently involve union matters or matters of public concern

 and which could reasonably be perceived as interfering with “the

 efficiency of the public services [CCRI] performs through its

 employees.”   Decotiis, 635 F.3d at 29; see Mullen, 504 F. Supp. 3d

 at 28 (“A public employee speaking pursuant to their official

 duties is not speaking as a private citizen and such speech does

 not   insulate    their   communication    from    an   adverse    employment

 action.”); see also PXII, Confidential Investigation and Report to

                                      2
Case 1:23-cv-00469-WES-LDA      Document 23     Filed 01/08/24    Page 3 of 5 PageID #:
                                      2580


 CCRI Concerning Steven D. Murray 5-57, ECF No. 15-12.                      Nor has

 Plaintiff met his burden with respect to the likelihood of success

 on the merits of his due process claim, given his placement on

 paid administrative leave and his access, through the collective

 bargaining agreement, to procedures to address any disciplinary

 action.    See Collins v. Univ. of N.H., 664 F.3d 8, 16-17 (1st Cir.

 2011).

       Second, regarding Plaintiff’s First Amendment infringement

 claims, Plaintiff has demonstrated a likelihood of success on the

 merits, at least with respect to the restriction as to whom he may

 talk to and about what.            The limitation imposed by Defendant CCRI

 that he “have no contact with college employees or students during

 the   period    of    [his]    leave,     excluding      those    communications

 connected to [his] union work,” PXV, Letter from Sybil Bailey to

 Steven Murray (Oct. 1, 2023), ECF No. 2-24, precludes potentially

 protected    speech    on   matters      of   public    concern    and   does   not

 “alleviate [real] harms in a direct and material way,” United

 States v. Nat’l Treasury Emps. Union, 513 U.S. 454, 475 (1995)

 (quoting Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 664

 (1994)).     Further, is it not narrowly tailored to the presumably

 compelling     interest       of     addressing   the     allegations      against

 Plaintiff.     Reed v. Town of Gilbert, 576 U.S. 155, 171 (2015).

 The same can be said of Defendant CCRI’s banishment of Plaintiff

                                           3
Case 1:23-cv-00469-WES-LDA     Document 23         Filed 01/08/24    Page 4 of 5 PageID #:
                                     2581


 from   campus   because     the    campus       is   a   public     forum,   and     the

 restriction is not narrowly tailored to address the particular

 allegations against Plaintiff.             See Pl.’s Reply 14-15, ECF No. 15;

 Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788,

 799-800, 802-03 (1985).

        Third, Plaintiff has not met his burden of showing likely

 success with respect to accessing the CCRI email system.                             See

 Pichelmann v. Madsen, 31 F. App’x 322, 327 (7th Cir. 2002) (finding

 no limited public forum with respect to an email system).

        For the other elements of preliminary injunctive relief, as

 applied to Plaintiff’s claims regarding the ban on contacting CCRI

 community members and banishment from campus, “[t]he loss of First

 Amendment    freedoms,       for     even        minimal     periods       of    time,

 unquestionably constitutes irreparable injury.”                     Elrod v. Burns,

 427 U.S. 347, 373 (1976).           For balancing of equities, Plaintiff

 has established hardship.          See Comcast of Me./N.H., Inc. v. Mills,

 435 F. Supp. 3d 228, 250 (D. Me. 2019), aff’d, 988 F.3d 607 (1st

 Cir.   2021).     Finally,        “[t]he       public    interest     is   served     by

 protecting First Amendment rights from likely unconstitutional

 infringement.”    Id.

        Accordingly,   the    Court     GRANTS        Plaintiff’s      Motion    as    it

 relates to campus access and communication with the CCRI community.

 The Court ORDERS that Plaintiff be permitted to communicate with

                                            4
Case 1:23-cv-00469-WES-LDA   Document 23      Filed 01/08/24   Page 5 of 5 PageID #:
                                   2582


 members of the CCRI community except for the complainants and

 witnesses involved in the Title IX and subsequent CCRI proceedings.

 Additionally, the Court ORDERS that Plaintiff be permitted to

 access   the    public   areas   of   Defendant       CCRI’s    campuses     and

 facilities, to the extent that any other member of the public has

 such access.    The Court defers ruling as to whether Plaintiff may

 attend    and    participate     in       CCRI   committees,       given     the

 representation at the hearing that no committee meetings are

 scheduled in January and the result of the investigation is likely

 to change Plaintiff’s status in the interim. 1            Defendant CCRI may

 further amend the restrictions so long as they comply with the

 First Amendment.    In all other respects, the Motion is DENIED.



 IT IS SO ORDERED.




 William E. Smith
 District Judge
 Date: January 8, 2024




 1 In the event circumstances change, Plaintiff may return to the
 Court.

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